                                    UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF ARIZONA

                                                        Minute Entry
Hearing Information:
                     Debtor:   TODD & SHANTAY BALLANTINE
              Case Number:     3:23-BK-02173-DPC         Chapter: 13

       Date / Time / Room:     MONDAY, DECEMBER 18, 2023 02:30 PM 3RD FLOOR #301

      Bankruptcy Judge:        REDFIELD T. BAUM
           Courtroom Clerk:    RENEE BRYANT
            Reporter / ECR:    STACI FAGAN                                                                                     0.00


Matter:
          TRUSTEE’S NOTICE OF INTENT TO LODGE DISMISSAL ORDER AND DEBTORS OBJECTION TOO
          R / M #:   34 / 0


Appearances:

     BENJAMIN WRIGHT, ATTORNEY FOR TODD BALLANTINE, SHANTAY BALLANTINE
     ROSS M MUMME, ATTORNEY FOR EDWARD J. MANEY

Proceedings:                                                                                                            1.00

     Mr. Mumme provides a history of the case and summarizes his efforts to contact the creditor Fox Ranch. He
     states that he was able to speak with Mr. Solan's power of attorney, Joseph, and he understands their objection.
     Mr. Mumme states the Debtor is cooperating, and they are getting close to confirmation. He asks for a 30-day
     continuance.

     Mr. Wright agrees with Mr. Mumme's representation and agrees to a 30-day continuance.



     COURT: IT IS ORDERED SETTING A CONTINUED HEARING ON JANUARY 16, 2024, AT 2:30 P.M.
     PARTICIPANTS CAN ATTEND BY USING THE ZOOM LINK FOUND ON JUDGE COLLINS' PROCEDURES PAGE.




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